                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE

                                                      )
 SOUTHERN ENVIRONMENTAL                               )
 LAW CENTER,                                          )
                                                      )
                            Plaintiff,                )               22-108
                                                             Case No. _______
                                                      )
               v.                                     )
                                                      )
 TENNESSEE VALLEY AUTHORITY,                          )
                                                      )
                            Defendant.                )


                                      COMPLAINT



        Plaintiff Southern Environmental Law Center (“SELC”) respectfully alleges

 as follows:

                             NATURE OF THE ACTION

       1.      This Freedom of Information Act (“FOIA”) suit challenges Defendant

 Tennessee Valley Authority’s (“TVA” or the “agency”) unlawful failure to fully disclose

 public records in response to Plaintiff’s request.

       2.      SELC, a nonprofit public interest organization dedicated to protecting

 the environment of the Southeast, requested information in TVA’s custody about the

 agency’s communications with gas companies regarding planned methane

 infrastructure projects.

       3.      TVA responded by sending two severely redacted contracts describing

 finished deals between the agency and gas companies.


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       4.     TVA attempted to justify its heavy redactions by citing FOIA

 “Exemption 4” and “Exemption 5.” Because those exemptions do not apply to the

 information that TVA redacted from the subject contracts, TVA should be required to

 disclose the requested information.

       5.     SELC seeks a declaration that TVA’s application of FOIA’s exemptions

 was unlawful. SELC also requests an order directing TVA to disclose the documents

 at issue to the extent FOIA requires.

                            JURISDICTION AND VENUE

       6.     This Court has jurisdiction over this FOIA action pursuant to 28 U.S.C.

 § 1331, 28 U.S.C. § 2201, and 5 U.S.C. § 552(a)(4)(B).

       7.     Venue is proper in this Court under 5 U.S.C. § 552(a)(4)(B), which

 provides for judicial review in the district “in which the agency records are situated”;

 under 28 U.S.C. § 1391(b)(2), which provides for venue in a district in which a

 substantial part of the events or omissions giving rise to the claim occurred; under 28

 U.S.C. § 1391(e), which provides for venue in the district in which a defendant resides

 or in which substantial part of the events or omissions giving rise to the claim

 occurred in actions against an agency of the United States; and/or under 28 U.S.C.

 § 1391(c)(2), which provides for venue in a district where the defendant is subject to

 the court’s personal jurisdiction.




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                                      PARTIES

                                         TVA

       8.     Defendant TVA is a corporate agency and instrumentality of the United

 States created by and existing pursuant to the Tennessee Valley Authority Act of

 1933. See 16 U.S.C. § 831 et seq. (“the TVA Act”). The TVA Act provides that TVA

 “[m]ay sue or be sued in its corporate name.” 16 U.S.C. § 831c(b).

       9.     TVA is an “agency” within the definition provided by FOIA. See 5 U.S.C.

 § 551(1).

       10.    TVA maintains its headquarters and FOIA office in Knoxville,

 Tennessee.

       11.    TVA has possession or control of the information at issue in this case.

                      Southern Environmental Law Center

       12.    Plaintiff SELC is a 501(c)(3), nonprofit public interest environmental

 law firm with a focus on six Southeastern states.

       13.    SELC is a “person” within the definition provided by FOIA. See 5 U.S.C.

 § 551(2).

       14.    SELC uses public advocacy and the law to protect the people and the

 natural resources of the Southeast and, in particular, to gather, analyze, and

 disseminate public information about activities affecting human health and the

 environment in the Southeast. SELC disseminates public information it gathers to

 the general public through its website, southernenvironment.org, which is updated

 regularly, as well as press releases, social media, and public comment letters. SELC


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 attorneys regularly attend and speak at public meetings and hearings throughout the

 region, informed by and sharing their analysis of public information.

       15.    SELC has submitted public comments on TVA’s power generation plans

 throughout the Southeast on its own behalf and on behalf of other interested

 organizations. Those comments include descriptions of the impacts of the methane

 gas generation projects that would be served by the infrastructure addressed by the

 redacted contracts. SELC has also made information about TVA’s methane gas

 projects available to the public through articles on its website. SELC is hampered in

 its efforts to provide effective public advocacy on behalf of itself and organizations

 whose members are TVA ratepayers when the agency unlawfully denies access to

 public information like the contracts at issue in this case.

                               SELC’s FOIA REQUEST

       16.    On August 5, 2021, SELC requested information in TVA’s custody

 relating to the agency’s communications with methane gas companies. SELC

 requested that information to inform SELC’s and other organizations’ meaningful

 participation, on behalf of themselves and their members who are TVA ratepayers,

 in public processes undertaken by TVA and the Federal Energy Regulatory

 Commission relating to the agency’s plans to build new methane gas-fired power

 plants throughout its territory.

       17.    A copy of SELC’s FOIA request is attached as Exhibit 1.

       18.    TVA sent, as an interim response, two heavily redacted contracts called

 “Precedent Agreements.” Those Precedent Agreements included: a contract between


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 TVA and Tennessee Gas Pipeline Company, attached as Exhibit 2, and a contract

 between TVA and East Tennessee Natural Gas, attached as Exhibit 3.

       19.    TVA cited 5 U.S.C. § 552(b)(4) (FOIA’s “Exemption 4”) as the basis for

 its redaction of the contracts.

       20.    When citing Exemption 4 as the basis for its redactions, TVA did not

 initially identify any foreseeable harm that would result from the disclosure of the

 redacted contract terms.

       21.    Each contract was negotiated at arms-length between TVA and a

 methane gas pipeline company.

       22.    Each contract was jointly authored by TVA, a public power company

 funded entirely by ratepayers, and a methane gas pipeline company.

       23.    Each contract demonstrates the parties’ understanding that neither

 party was the instrument’s sole drafter.

       24.    On February 2, 2022, while the request was still pending, SELC

 withdrew the remainder of its request.

       25.    On February 4, 2022, TVA sent a final determination letter regarding

 SELC’s request and advising SELC of its appeal and mediation rights. A copy of that

 letter is attached as Exhibit 4.

       26.    On February 7, 2022, SELC timely appealed TVA’s improper use of

 Exemption 4 to withhold large portions of the contracts. A copy of that appeal letter

 is attached as Exhibit 5 and incorporated herein by reference.




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       27.    On March 7, 2022, TVA’s FOIA appeals officer affirmed the agency’s

 prior determination, citing FOIA Exemption 4 again and adding, for the first time,

 5 U.S.C. § 552(b)(5) (FOIA’s “Exemption 5”) as a new reason for TVA to withhold the

 redacted information. A copy of TVA’s letter conveying its appellate determination is

 attached as Exhibit 6.

       28.    TVA’s appellate determination conveyed the gas pipeline companies’

 unsupported and vague assertions that revealing the Precedent Agreements would

 cause the gas pipeline companies competitive harm and that “TVA has no basis for

 questioning this statement.” See Exhibit 6 at 1. TVA also added its own general

 language claiming that disclosure of the redacted portions of the Precedent

 Agreements would “reveal TVA’s strategies for this type of transaction” and

 “undermine TVA’s ability to conduct . . . future negotiations.” Id.

       29.    SELC has exhausted the administrative remedies available to it under

 FOIA and the applicable TVA implementing regulations. 18 C.F.R. § 1301.9(e).

                            FOIA EXEMPTIONS 4 AND 5

       30.    The Freedom of Information Act reflects “a general philosophy of full

 agency disclosure unless information is exempted under clearly delineated statutory

 language.” Dep’t of Air Force v. Rose, 425 U.S. 352, 360–61 (1976) (quoting legislative

 history) (internal quotation marks omitted). FOIA “seeks to ensure that government

 officials are held accountable to an informed electorate,” and “‘[d]isclosure, not

 secrecy, is the dominant objective of the Act.’” Schell v. U.S. Dep't of Health & Hum.




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 Servs., 843 F.2d 933, 937 (6th Cir. 1988) (quoting Department of Air Force v. Rose,

 425 U.S. 352, 361 (1976)).

       31.    In 2016, Congress added language amending FOIA to further clarify,

 among other things, that an agency can only withhold information when it

 “reasonably foresees that disclosure would harm an interest protected by an

 exemption described in subsection (b).” FOIA Improvement Act of 2016, Pub. L. No.

 114-185, § 2, 130 Stat. 538, 539 (2016).

       32.    Exemption 4 permits an agency sometimes to withhold “trade secrets

 and commercial or financial information obtained from a person and privileged or

 confidential.” 5 U.S.C. § 552(b)(4) (emphasis added). Although Exemption 4 is

 intended to promote candor with federal agencies, it is not intended to allow federal

 agencies to shield legally binding contracts from public view. See Racal-Milgo Gov't

 Sys. v. Small Bus. Admin., 559 F. Supp. 4, 6 (D.D.C. 1981).

       33.    TVA’s FOIA implementing regulations require that, for commercial

 information to be withheld, the submitter “must use good faith efforts to designate by

 appropriate markings, at the time of submission, any portion of its submission that

 it considers to be protected from disclosure under Exemption 4.” 18 C.F.R. § 1301.8(b)

 (emphasis added).

       34.    Exemption 5 allows an agency to withhold some “inter-agency or intra-

 agency memorandums or letters that would not be available by law to a party other

 than an agency in litigation with the agency.” 5 U.S.C. § 552(b)(5). The exemption

 only applies if a document is “both predecisional and deliberative,” Schell v. U.S.


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 Dep't of Health & Hum. Servs., 843 F.2d 933, 940 (6th Cir. 1988) (internal quotation

 marks omitted), and “a claim of commercial privilege based on anything other than

 executive privilege or the attorney-client privilege must be viewed ‘with caution’

 when arising in the context of Exemption 5,” see Morrison-Knudsen Co. v. Dep't of the

 Army of U.S., 595 F. Supp. 352, 355–56 (D.D.C. 1984) (quoting Fed. Open Mkt. Comm.

 v. Merrill, 443 U.S. 340, 355 (1979)).

                                CLAIM FOR RELIEF

   Count 1 - TVA Violated FOIA by Failing to Fully Disclose the Contracts

       35.    All allegations stated above are incorporated herein by reference.

       36.    The Precedent Agreements are “information” within the meaning of 5

 U.S.C. § 552(a)(1)(A).

       37.    Exemption 4 sometimes allows an agency to withhold “trade secrets and

 commercial or financial information obtained from a person and privileged or

 confidential.” That exemption does not apply to the Precedent Agreements because

 TVA did not obtain those contracts from anyone. TVA jointly created them in

 collaboration with its business partners, the gas pipeline companies.

       38.    Because TVA paid its lawyers to jointly craft the subject contracts

 during arms-length negotiations, it cannot legitimately claim that those same

 contracts are “information obtained from a person” and thus shielded from disclosure

 under Exemption 4. See, e.g., Det. Watch Network v. United States Immigr. &

 Customs Enf't, 215 F. Supp. 3d 256, 263 (S.D.N.Y. 2016) (holding Exemption 4 did

 not apply to contract terms “negotiated and agreed on by the Government, as one


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 would expect in an arms-length transaction” because the information was “not

 obtained from a person” within the meaning of Exemption 4); Bloomberg, L.P. v. Bd.

 of Governors of the Fed. Rsrv. Sys., 601 F.3d 143, 149 (2d Cir. 2010) (“[I]t cannot be

 said that the government ‘obtained’ information as to its own acts and doings from

 external sources or persons.”); S. All. for Clean Energy v. U.S. Dep't of Energy, 853 F.

 Supp. 2d 60, 68 (D.D.C. 2012) (“[T]he mere fact that information was the product of

 negotiations between a ‘person’ and the agency does not make that information

 ‘obtained from a person’ under Exemption 4.”).

       39.    Courts routinely hold that FOIA Exemption 4 does not allow an agency

 to withhold every detail of deals that it makes with private parties. See, e.g., Cause

 of Action Institute v. Export-Import Bank of the United States, 2022 WL 252028, at

 *17 (D.D.C. Jan. 27, 2022) (ordering disclosure of “the terms of a guarantee” made by

 government defendant to private company); Jud. Watch, Inc. v. U.S. Dep't of Health

 & Hum. Servs., 525 F. Supp. 3d 90, 97 (D.D.C. 2021) (ordering disclosure of names

 and addresses of labs with whom defendant worked); WP Co. LLC v. U.S. Small Bus.

 Admin., 502 F. Supp. 3d 1, 16 (D.D.C. 2020) (ordering disclosure over agency’s FOIA-

 based objection of the “names, addresses, and precise loan amounts of all . . .

 borrowers” participating in the Paycheck Protection Program); see also Racal-Milgo

 Gov't Sys., Inc. v. Small Bus. Admin., 559 F. Supp. 4, 6 (D.D.C. 1981) (“Disclosure of

 prices charged the Government is a cost of doing business with the Government. It is

 unlikely that companies will stop competing for Government contracts if the prices

 contracted for are disclosed.”).


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         40.    The Precedent Agreements do not contain a “confidential” or comparable

  watermark, header, or footer specifically designating the agreements confidential

  under Exemption 4.

         41.    An agency cannot justify withholding a completed contract under

  Exemption 5 on the basis that disclosure would harm the agency’s commercial

  interests or frustrate its mission after the contract has been awarded. Merrill, 443

  U.S. at 360 (1979) (“The theory behind a privilege for confidential commercial

  information generated in the process of awarding a contract, however, is . . . that the

  Government will be placed at a competitive disadvantage or that the consummation

  of the contract may be endangered. Consequently, the rationale for protecting such

  information expires as soon as the contract is awarded or the offer withdrawn.”)

  (emphasis added); see also Taylor-Woodrow Int'l v. U.S. Dep't of Navy, 1989 WL

  1095561, at *3 (W.D. Wash. Apr. 5, 1989) (“Normally, once the government awards a

  contract, all negotiations end and the contract price becomes fixed. In that instance,

  there would be no reason to continue to withhold the information.”).

         42.    Under the FOIA Improvement Act of 2016, agencies may withhold

  information “only if the agency reasonably foresees that disclosure would harm an

  interest protected by an exemption described in [FOIA] subsection (b).” 5 U.S.C.

  552(a)(8)(A)(i).

         43.    Neither TVA’s unqualified acceptance of the gas pipeline companies’

  generic assertions that revealing the redacted information would cause harm, nor

  TVA’s vague assertion that disclosure would interfere with the agency’s mission,


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  satisfies the agency’s obligation under FOIA to provide “a relatively detailed

  justification for its withholding, specifically identifying the reasons why a particular

  exemption is relevant.” Naumes v. Dep't of the Army, 2022 WL 594541, at *2 (D.D.C.

  Feb. 28, 2022).

        44.       The redactions include material that appears to describe the parties’

  obligations to comply with federal environmental law. The redactions include, for

  example, all of the text following a heading that reads “Shipper’s Project

  Environmental Reviews.” See Exhibit 2 at 14.

        45.       TVA’s redactions are unwarranted and overly broad as explained in

  SELC’s appeal letter attached as Exhibit 5. That appeal letter is incorporated herein

  by reference.

        46.       SELC has a statutory right to receive copies of the Precedent

  Agreements under FOIA unredacted if no exemption applies or, if an exemption does

  apply in part, copies with only those redactions that are proper under the applicable

  exemption. See 5 U.S.C. § 552.

        47.       Other than Exemptions 4 and 5, TVA has not cited any other basis for

  withholding the redacted portions of the Precedent Agreements.

        48.       Neither Exemption 4, 5, nor any other statutory exemption justifies

  withholding the redacted portions of the Precedent Agreements.

        49.       TVA improperly withheld the redacted portions of the subject

  agreements.

        50.       By failing to fully disclose the agreements, TVA violated FOIA.


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        51.      The subject contracts contain the kind of information about activities

  affecting human health and the environment in the Southeast that SELC regularly

  gathers, analyzes, and disseminates to the public. SELC needs to review the redacted

  contractual provisions to continue to fully participate in public decision-making

  processes about TVA’s power generation decisions, and to determine whether TVA

  has complied with the National Environmental Policy Act (NEPA) in connection with

  its plan to build new gas plants.

        52.      SELC is directly and adversely aggrieved by TVA’s failure to provide

  complete and unredacted records responsive to its FOIA request. TVA’s failure to

  provide the complete Precedent Agreements hampers SELC’s ability to engage in

  advocacy on behalf of organizations whose members are TVA ratepayers before the

  Federal Energy Regulatory Commission, and it restricts SELC’s ability to ascertain

  whether TVA has complied with the National Environmental Policy Act (NEPA).

        53.      Unless ordered by this Court to fully disclose the agreements, TVA will

  continue to improperly withhold public information from SELC in violation of FOIA.

                                  PRAYER FOR RELIEF

        WHEREFORE, based upon all the allegations contained in the foregoing

  paragraphs, SELC respectfully requests relief in the form of an order:

              a) declaring that TVA violated FOIA by improperly withholding portions

                 of public records;




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           b) directing TVA to provide unredacted copies of the Precedent

              Agreements, or copies with only those redactions the Court deems

              proper, without delay;

           c) awarding SELC its reasonable attorneys’ fees and costs pursuant to 5

              U.S.C. § 552(a)(4)(E); and

           d) awarding SELC such other relief as the Court deems just and proper.



  Respectfully submitted this 24th day of March 2022,



                                            s/ Amanda Garcia
                                            Amanda Garcia, BPR#033773
                                            Southern Environmental Law Center
                                            1033 Demonbreun Street, Suite 205
                                            Nashville, TN 37203
                                            Telephone: (615) 921-9470
                                            Facsimile: (615) 921-8011
                                            agarcia@selctn.org

                                            Attorney for Southern Environmental
                                            Law Center




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